Case: 2:20-cv-06479-SDM-CMV Doc #: 1-1 Filed: 12/18/20 Page: 1 of 28 PAGEID #: 6




               Exhibit A
Case: 2:20-cv-06479-SDM-CMV Doc #: 1-1 Filed: 12/18/20 Page: 2 of 28 PAGEID #: 7
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Case: 2:20-cv-06479-SDM-CMV Doc #: 1-1 Filed: 12/18/20 Page: 8 of 28 PAGEID #: 13
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Case: 2:20-cv-06479-SDM-CMV Doc #: 1-1 Filed: 12/18/20 Page: 25 of 28 PAGEID #: 30
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